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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA
BLAIR IMANI, ET AL                                           CIVIL ACTION
VERSUS                                                       NO.: 17-CV-439-JWD-EWD
CITY OF BATON ROUGE, ET AL
****************************************************
                                 JUDGMENT OF DISMISSAL

         Considering the Joint Motion and Order of Dismissal in the above entitled and number

cause;

         IT IS ORDERED that plaintiff, Tammy Cheney’s, suit against City of Baton

Rouge/Parish of East Baton Rouge (hereinafter referred to as “City/Parish”), and Mayor Melvin

Lee “Kip” Holden, and ex-Baton Rouge City Police Chief, Carl Dabadie, Jr., in his individual

capacity, Baton Rouge City Chief of Police in his official capacity (previously Carl Dabadie, Jr.,

currently Jonathan Dunnam), Alex Bell, Darren Hunt, Earl Lapeyrouse, Jonathon Abadie, Taylor

Giroir, Derrick Williams, Keith Wilson, Travis Norman, Earnest Jones, Kenny Brewer, William

Alexander, James Thomas, Kirk Grover (improperly named “Kirk Glover”), Willie Williams,

Jason Dohm, Reab Simoneaux, Jr., Alaina Mancuso, Jeff Pittman, Richard McCloskey, Billy

Walker, and Curtis Wilson (hereinafter referred to collectively as “Defendants”) is hereby

dismissed, with full prejudice, and with each party to bear their own costs.

         Baton Rouge, Louisiana, this              day of                           , 2019.



                              __________________________________
                                ERIN WILDER-DOOMES
                          UNITED STATES MAGISTRATE JUDGE
